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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 UNITED STATES OLYMPIC AND PARALYMPIC
 COMMITTEE,
                                                          Civil Action No.: 1:24-cv-08973
          Plaintiff,
                                                          Judge Jeremy C. Daniel
 v.
                                                          Magistrate Judge Sheila M. Finnegan
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

                  Defendants.

  PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT
  AGAINST THE DEFENDANTS IDENTIFIED IN FIRST AMENDED SCHEDULE A

        Plaintiff hereby moves this Honorable Court for entry of Default and Default Judgment

against the Defendants Identified in the First Amended Schedule A.

        Plaintiff files herewith a Memorandum of Law in support.

DATED: November 1, 2024                            Respectfully submitted,

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                   ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 1, 2024, I will electronically file the foregoing with the
Clerk of the Court using the CM/ECF system, I will electronically publish the documents on a
website, and I will send an e-mail to the e-mail addresses identified and provided for Defendants
by third parties that includes a link to said website.
                                                       /s/ Keith A. Vogt
                                                       Keith A. Vogt, Esq.




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